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IN THE UNITED STATES DISTRICT COURT
FOR THE NoRTHERN DISTRICT 0F 0KLAH0MA F 1 L E

AP
THE UNITED sTATEs 0F AMERICA, M R 3 0 2918
And THE STATES OF oKLHAOMA and U §'kDC M cca am C,erk
TENNESSEE, ex rel. [UNDER sEAL], 'STRCICT TC’OURT

Plaintiffs, No. 14-cv-567 CVE-P.]C

V. SEALED
[UNDER SEAL]

Defendants.

Case 4:14-cV-00567-CVE-P.]C Document 44 Filed in USDC ND/OK on 04/30/18 Page 2 of 4

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

THE UNITED STATES OF AMERICA,
And THE STATES OF OKLHAOMA and
TENNESSEE, ex rel. CHRIS PHILLIPS,

Plaintiffs, No. 14-cv-567 CVE-PJC

SEALED

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1) STEPHEN L. LAFRANCE )
HOLDINGS, INC., )

2) SUPER D DRUGS ACQUISITION )
CO., )

3) STEPHEN L. LAFRANCE )
PHARMACY, INC., )

4) ARCADIA VALLEY DRUG CO., )
5) CONSOLIDATED STORES, INC., )
6) DALECO, INC., )
7) PHARM-MART PHARMACY OF )
WARREN, INC., )

8) RICH MOUNTAIN )
PHARMACEUTICAL )
SERVICES, INC., )

9) S&W PHARMACY, INC., )
10) USA DRUG & BEAUTY )
MARKET FRANCHISING )
SYSTEM, INC., )
11) MAY’S DRUG STORES, INC., )
12) MED-X COPORATION, and )
13) WALGREEN CC., )
)

)

Defendants.

THE PLAINTIFF STATES’ NOTICE OF DECLINATION
Pursuant to their respective state statutes, the States of Oklahoma and Tennessee (“the
States”) hereby notify the Court of their respective decisions to not intervene in this action.
Relator filed this action under the Federal False Claims Act and similar state statutes, the

Oklahoma Medicaid False Claims Act and the Tennessee Medicaid False Claims Act. The State

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of Tennessee has asked undersigned counsel for the State of Oklahoma to inform the court that
they have decided not to intervene in this action.

Pursuant to their respective False Claims Acts, the States request that all pleadings filed
in this declined action be served upon the States. The States also request that orders issued by
the Court be sent to the States’ counsel. The States reserve the right to order any deposition
transcripts, to intervene in this action for good cause at a later date, and to seek the dismissal of
the Relator’s action or claim. The States also request that it be served with all notices of appeal.

Although the States decline to intervene at this time, they respectfully refer the Court to
63 O.S. § 5053.3(B)(1), and the analogous Tennessee statute, which allows the action to be
dismissed only if the court and the Attorney General give written consent to the dismissal and
their reasons for consenting Therefore, the States request that, should either the Relator or the
Defendant propose that this action be dismissed, settled, or otherwise discontinued, the Court
require the litigants to solicit the written consent of the States, and to provide the States with
notice and an opportunity to be heard, before ruling or granting its approval

A proposed Order accompanies this Notice.

Dated: April 30, 2018 Respectfully Submitted,

MIKE HUNTER
Oklahoma Attorney General

    

 

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Attorney for the State of Oklahoma and on
behalf of the State of Tennessee

Certificate of Service
I hereby certify that on April 30, 2018, a copy of the foregoing document was filed with
the Clerk of Court via paper filing. I certify that on April 30, 2018, I served the same document
by Email on the following:

Marianne Hardcastle, AUSA

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